l UNITED STATES OF AMERICA

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Case 1:17-cr-00201-AB.] Document 66-3 Filed 11/30/17 Page 1 of ;1 00_936
Rev. 7{8?

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

APPLICATION TO PLEDGE`REAL PROPERTY TO SECURE RELEASE ON BOND

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Criminal Nuz`nber l7' ‘9~01 ' O\ (ABE>

 

Name(s) of person(e} offering real property for appearance or

surety bender

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Addrese(es): '\O y §\‘- §cu~\es b \\fQ/, f?a\vv\ g€.ac['\ €AW\~ZJ\S FL-
3 Z*i' \ §

 

location of property offered {ad'dress and brief description
of property).

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(S)\f\€‘\'\¢ .[’ww\\\\) .A¢-\(_> »

 

Perscm(s) and addreee(es) in whose name property is esseesed:

"\70»»»\ le N\M~af»vr+,, in ¢~v\& Kc\`&'ex[cc,n g MAMA¢;»`“’?L‘

 

 

Mortgege, liens, encumbrances cf any kind on such property
and the interest held in such property by anyone other than
the person(s) in whose name the property is assessed:

N 0~»'\€, -

 

 

Aseeesed value of property= $ i» 115`0) OOC’
Mortgege, liene, encumbrances or other interests (total)
$ C)

(over)

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8. Net assessed value of property fline 6 less line 7);
5 \,D-§`O) OOC'

 

9. Amount required for appearance or surety honds:

$ See. ¢JJ-\-ct¢i\,ec@ w\\¢i»z/C

There most be attached to this form a certificate from the
Assessor's Off'i'ce of the Distriot of Columbia, indicating the
Equare and lot rnum`oers, street a‘d'dress, current assessed value,
and in Wnose name the property is assessed,

I,f the amount shown on line 8 {lis.ted above) exceeds that
shown on line 9, then the property if qualified in all other
respects, is adequate to secure the bond in question.

* f * * ‘i' I‘ ** *

AFFIDAVIT IN suPPoRT To APPLICATIGN 'ro PLEDGE REAL PRoPERTY 'z'o
schRs RELEASE or nsFENDANT on some »

l declare under~ penalty of perjury 4that the information
on this application is true and correct.

I also warrant under oath thatg subsequent to the execution
of deed of trust on the property described in this application
to secure the release of:

?KNJ §\\AAWN%F@ ;F'
and prior to recordation of said deed, no other deed of any kind
will be executed by me or will this property be further encumbered

in any way .

Witness my hand and seal { t
Subscribed and sworn to before me this day of .
19 l

 

 

CLERK, U.S. DISTRICT COURT

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United States of America v. Paul Manafort
Crim N0:17 -20101(AB]]

Rider to Annilcation to Pled,qe Real Propertv to Secure Release on Bond
5. 174 ]obs Lane, Bridgehampton N.Y. has a mortgage to Federal Savings Bank
dated November 16, 2016 in the amount of $9,500,000.

601 N. Fairfax Street, Alexandria, Va is encumbered by a deed of trust to
Federal Savings Bank as collateral for the mortgage on 174 ]obs Lane.

123 Baxter Street, New York, N.Y. has a mortgage to Woodlawn LLC dated
August 7, 2017 in the amount of $1,025,000.

10 St. ]ames Drive, Palm Beach Gardens FL has no encumbrances.

6. Assessed Value:

174 lobs Lane, Bridgehampton $13,500,000

123 Baxter Street, New York 4,725,000

601 N. Fairfax Street, Alexandria 2,700,000

10 St. ]ames Drive, Palm Beach Gardens 1,250,000

Total $22,175,000

7. Mortgages, liens, encumbrances or other interest $10,525,000
8.Net assessed value: $11,650,000
9.Amount required for appearance or surety: $10,000,000

Line 8 exceeds Line 9.

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AO mo (Rev.\ 06109) Agreemenr to forfeit Real Propeny to Obtaln a Defendant‘s Release

UNITED STATES msch CoURT _
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Unitc'd States of America

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Case No.

AGREEMENT 'I`O FORFEIT REAL PROPERTY TO¢OBTAIN A DEFENDANT’S RELEASE

'l‘o obtain the defendants release, wejointly and severally agreeto forfeitthe following property to the United States
of America if this defendant fails to appear as required.for any court proceeding or forthe service of any sentence imposed
as may be noticed or ordered by any court considering this matter, or fails tocomply with anyiconditions of release set by
the court (dc.rm'be property and any clalm. lien. mortgage or other encumbrance on ir}f

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Ownershn). We declare under penalty ot"pcrjury`that we.are this property’_s"sole'owners‘ and that it.is not subject
to any claim, lien, mortgage, or other encumbranc'e.except as disclosed above We promise not to sell, mortgage or
otherwise encumber the property, or do anything to reduce its value'.wltlle thisagrecment`is.in eitch We deposit with the
court the following ownership documents, including_nny encumbrance documents timallde¢umemund:ubmuasarmhmemr):

l. Dee& le:\’eAl jép'hewtlae\r 17/ 2007
2~ VCL\\>CL”`N.OK

Surety !nformation. We understand that the court and the United -Stntes ot”America will rely on.the surety
information in approving this agreement

Condr'!z'ons ofRelease. We state that we have either read all court-ordered conditions of release imposed on the
defendant or had them explained to us.

Comr‘nuing Agreement. Unless the court orders otherwise this~agreement remains in effect during any appeal or
other review until the defendant has satisfied all court'notices, orders, and conditions

Exoncration ofSureries. This agreement is satisfied and ends-if the defendant is exonerated on all charges or, il`
convicted, the defendant reports to serve any sentence imposed

Forfeirure. lf the defendant fails to obey all conditions of release,r court notices, and orders to appear, the court
will immediately order the property'forfeited and on motion ofth`e.Unlted States ofAmerica'may.ordcr ajudgmcnt_ot`
forfeiture against the signing parties and their representatives jointly and severally,'including interest and costs.

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Pagc 2 of 2

AO 100 (Rcv. 0&»`09) Agreemcm to Forfeit Real Propcny to Obrain a Defcndnnt's Releo.zc

I swear under penalty ofpexjury that the above infonnation is true and agree to the conditions ofthis agreement.

_ Datc:

 

De]imdanl (lf¢z property owned
City and state:

 

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Pro;)er:y owner 's printed name Pmperz{v owner ‘s signmure

Swom and signed before me. -
C'LERK GF COURT

Date:

 

Stgmzmre qulerk'or Deputy CIerk

Agrcement accepted.
LWITED STA TES GF AMERICA

Date:

 

As:islani Uhired S!ales A !!omey ".s' signature

Agreement approved

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10 Saint J ames Drive, Alexandria, VA

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B MANAFOR ,‘ bandandwife,hereinaitercalledtheGmntoe,whoscmmhngaddmssilel North
Umon Street, Sui , Alexandria, VA 22314

the tams "Grantor" and "Gi'antee" are used for singular or plural, as

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WITNESSETH, that V¢`L~’\`.~_ Gnmtor, for and in consideration of the sum of Ten Dollm ($10 00)
end other good end veiuebie §§ - d z ene, receipt whereof is hereby acknowledged hereby game
bargains, sells, aliens, rennses, m -:‘\ml-, conveys and confirm unto the Gi'antee, all that certain land situate

in the County of Palm Beach, State da, to-wit

Lot 76, PLAT ONE HANS@JDM, according to the Pliit thereol', as recorded
m Plat Book 64, Piige 67, of t@iblic Records of Palm Beach Coimty, Florida

SUBJECI` TO restncuons, res oovenants, conditions and easements ofrecord, taxes for
the year 2007 and the years su t thereto, and all applicable laws, ordinances, and
govemmcntal regulations, including without limitation1 zoning and building codes and ordinances

TOGETHERmthachetmcmmw,hd'edimmmwandappunmancesthmwbelmgmgorm
anywiscappextaimng

TO HAVE AND TO HOLD, the same in fec simple forever

ANDthe saidGmntoi-hni'ebycovenants withsdemnteethnttthi'antoris lawfdllyseizedofsaid

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Grantorherebyiiillywanantsthetitletosaidlandandwilldefendthcsamcagmnstthelawfulclaimsofall
personswhomsoever,andthatsmdlandis&eeofauhensandencumbrances,excepttaxeeaccruing

subsequentheeember31,2006

INWITNESS WHEREOF,thc sderantorhassignedandsealedthesepresemsthedayandyear
firstabovewnttcn _

   

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Signed, sealed and delivered

CWL~M

AARON W LEVY

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(PrintName) @@?§

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Personnlly Known _ OR Prod

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This instrument prepared by

Larry Z Glickman
Sax Klein P A
Suite 50 301 ¥amato Road
n FL 33431
0 CERT|F|CATE OF COMPL|ANCE
@ for transfer of a UN|T
in the BALLEN|SLES Commumty

W 0
TIM Tl) CERT|FY that BALLENlSLES COMMUN|TY ASSOC|AT|ON |NC
( ASSOC|AT hereby venfies to Paul J & Kathleen B Manafort [NAME OF BUYER] as giantea(s)

of the followin T in the BALLEN|SLES Community

 

76 Ballenlsles Pod 5B according to the Plat thereof on his in the
O@of die Claik of the Cm:uit Couit in and for Palm Baach County
F/onda recorded in Plat Book 64 Page 67
//`n\

\\;
that as of the date hel%tsmw referenced above is in compliance with all relevant provisions of

 

 

Second Restated and Dec|aration of Protective Covenants Conditions and Restrictions for
Ballenlsles as amended %O

meted ime 23"' day oiA 2007

in the presence of

BALLEN|SLES COMMUN|TY ASSOC|ATION INC
@ a _ML&&M__
K@§nnt name l C

Signed sealed and delivered @§W

*<

 

 

 

  
 

 

 

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(Pnnt) >lQA/£ if /$éN/q
STATE CF FLOR|DA )
SS
PALM BEACH COUNTY )

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200}' by ’ _ .» ' of BALLEN|SL COMMUN|T¥
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as identification

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10 Saint J ames Drive, Alexandria, VA

PR()PERTY VALUE

11/10/2017

 

 

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Buy Rent Sell Mortgages Agent t`inder Home design More

 

 

» CORRECT' HOME FACTS §7 SAVE NSHARE ® HIDE GET UPDATES MORE

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Fincl the right renter. List your rental for free on Zi|low.

 

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10 Saint James Dr,

Palm Beach Garderis, FL ;::‘;;":;97
33418 .e{ege;
.R.€nt ,Zs§_flm§le_`¢ $6-792 /mo

5 beds - 5 baths - 4,034 sqft

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